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                   EXHIBIT 14
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                                    UBS Financial Services Inc.

           "~
                                    Private Wealth Management
                                    1 North Wacker Drive
                                    Suite 3700
                                                                                      Business Services Account
                                    ChicagolL60606-2883                               March 2018
                                    AN~7002227769031 8Xt Y4 0




                                                                                  ESSEX CAPITAL CORPORATION


Account name: ESSEX CAPITAL CORPORATION
Account number:                 70 JM


Your Financial Advisor:
JAY MALTBY/MATT LUDINGTON
Phone:312-525-7400/888-827-8469


Questions about your statement?
Call your Financial Advisor or the
ResourceLine at 800-762-1000,                       Vc~llle Of yOUr c~CCOt111t
account 414016770.                                                                   on February 28($)               on March 29($)

visit our website:                                  Your assets                            311,250.00                  31 1,250.00
www.ubs.com/financialseroices                                                              -133,331.20                -199,167.63
                                                    Your liabilities
                                                    Value of your account               $177,918.80                  $112,082.37
Items for your attention
 ~ Help protect yourself from fraud and
review bank, credit card, and brokerage
statements regularly. Also, get your free
credit report annually from
www.annualcreditreport.com.                                                                                                              Sources of your account growth
                                                                                                                                         d uring 2018
                                                    Tracking the value of your account                                                   Value of your account
                                                                                                                                         at year end 2017          5250,864.40
                                                      $ Thousands
                                                                                                                                         Net deposits and
                                                    429.6               427.7                                                            withdrawals                -$67,532.03
                                                                                                                                         Your investment return:
                                                                                                                                            Change in
                                                                                   250.9
                                                                                                                                            market value            -$71,250.00
                                                                                                          177.9
                                                                                                                             712.1       Value of your account
                                                                                                                                         on Mar 29,2018            $112,08237


                                                   Dec 2015            Dec 2016   Dec 2017               Feb 2018          Mar 2078




                                      Member SIPC                                  ANQ70006002227769 NQ7000297052 00001 0318 000000000   70JM0 100000             Page 1 of 8


                                                                                                                                                 EXHIBIT 14 PAGE 161
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                                20s8ervices Account                         Account name:             ESSEX CAPITAL CORPORATION                            Your Financial Advisor:
                                                                            Account number:                  70 JM
~' ~" `-'.11~           Basch                                                                                                                        JAY MALTBY/MATT LUDINGTON
                                                                                                                                                        312-525-7400/888-827-8469



   Your account balance sheet

   Summary of your assets
                                                         Value on   Percentage of
                                                      March 29($)    your account

   A     Cash and money balances                           0.00         0.00%         Your current asset allocation
   B     Cash alternatives
   C     Equities                                 311,250.00          100.00%
   D     Fixed income                                      0.00         0.00%
   E     Non-traditional                                   0.00         0.00%
   F     Commodities                                       0.00         0.00%
   G     Other                                             0.00         0.00%
   Total assets                                 $311,250.00          100.00%
                                                                                                         C

   Summary of your liabilities
                                                   Amount on
                                                  March 29($)

   Margin loan                                   -199,167.63
                                                                                              Eye ol~ the marl~ets
   Total liabilities                            -$199,167.63                                                                                              Percentage change
                                                                                              Index                                                March 2018         Year to date

   Value of your account                                                                      S&P 500                                                -2.54%             -0.76%
                                                5112,082.37
                                                                                              Russell 3000                                           -2.01 %            -0.64%
                                                                                              MSCI - Europe, Austra lia & Far East                   -1.87%             -1.58%
                                                                                              Barclays Capital U.S. Aggregate Bond Index              0.64°/o           -1.46%
                                                                                              Interest rates on March 29, 2018
                                                                                              3-month Treasury bills: 1.63%
                                                                                              One-month LIBOR: 1.88%




                                                                                    ANQ70006002227770 NQ7000297052 00001 0318 000000000    701M0 100000             Page 2 of 8




                                                                                                                                                 EXHIBIT 14 PAGE 162
                            Case 2:18-cv-05008-FMO-AFM Document 6-15 Filed 06/05/18 Page 4 of 11 Page ID #:672


                                                                                                     Account name:          ESSEX CAPITAL CORPORATION                                               Your Financial Advisor:
                        Business Services Account                                                    Account number:               70 JM                                                      JAY MALTBY/MATT LUDINGTON
                        March 2018                                                                                                                                                                312-525-7400/888-827-8469




Change in the value of your account                                                                                    Cash activity summary
                                                          March 2018($)                    Year to date (~)            See Account activity this month for details. Balances in your Sweep Options are included in the opening and
                                                                                                                       closing balances value. FDIC insurance applies to deposiu at UBS Bank USA and all banks participating in the
                                                                                                                       UBS FDIC Insured Deposit Program. It does not apply to deposits at UBS AG, Stamford Branch or bank
Opening account value                                     $177,918.80                     $250,864.40                  deposits placed through the UBS International Deposit Account program. SIPC protection applies to money
                                                                                                                       market sweep fund holdings but not bank deposits. See Important information about your statement on the
Withdrawals and fees,                                                                                                  last two pages of this document for details.
including investments transferred
                                                                                                                                                                                      March 2018($)              Year to date ($)
out                                                         -65,836.43                       -67,532.03
                                                                                                                       Opening balances                                             -$133,331.20               -$131,635.60
Change in market value                                               0.00                    -71,250.00
                                                                                           $112,082.37                 Subtractions
Closing account value                                     y112,082.37
                                                                                                                       Other funds debited                                              -65,836.43                 -67,532.03
                                                                                                                       Total subtractions                                             -$65,836.43                -$67,532.03
Summary of gains and losses                                                                                                                                                           -$65,836.43                -$67,532.03
                                                                                                                       Net cash flow
Values reported below exclude products for which gains and losses are not classified.

                                        Realized gains and losses                               Unrealized             Closing balances                                             -$199,167.63                -X199,167.63
                                     March 2018(~)              Year to date ($)        gains and losses ($)

Short term                                      0.00                       0.00                 6,326.75               Loan summary
Long term                                       0.00                       0.00               12,855.20
                                                                                                                       Opening loan balance on February 28                                                           $133,331
Total                                         $0.00                      $0.00               $19,181.95
                                                                                                                       Closing loan balance on March 28                                                              $133,331
                                                                                                                       Average loan balance                                                                          $133,331
                                                                                                                       Loan interest period                                                      February 28 to March 28
                                                                                                                       Number of loan (debit) days                                                                             29
                                                                                                                       Average loan interest rate                                                                       7.788%
                                                                                                                        March 2018 loan interest                                                                       $836.43
                                                                                                                       Year to date loan interest                                                                    $2,532.03




                                                                                                               ANQ70006002227771 NQ7000297052 00001 0318 000000000                  70JM0 100000                    Page 3 of 8


                                                                                                                                                                                              EXHIBIT 14 PAGE 163
                        Case 2:18-cv-05008-FMO-AFM Document 6-15 Filed 06/05/18 Page 5 of 11 Page ID #:673

              ~`        Business Services Account                                          Account name:         ESSEX CAPITAL CORPORATION                              Your Financial Advisor:
   ~~ ~~                                                                                   Account number:              70 JM
                        March 2018                                                                                                                                JAY NIALTBY/MATT LUDINGTON
                                                                                                                                                                     312-525-7400/888-827-8469



 Your investinezlt objectives:
 You have identified the following investment objectives for this account. If you have questions
 about these objectives, disagree with them, or wish to change them, please contact your
 Financial Advisor or Branch Manager. You can find a full description of the alternative
 investment objectives in Important information about your statement at the end of this
 document.
 Your return objective:
 Capital appreciation
 Your risk profile:
 Primary -Aggressive
 Investment eligibility consideration -None selected


~'011r aCC011llt lllStrUC~l0I1S
. Your account cost basis default closing method is FIFO, First In, First Out.




                                                                                                   ANQ70006002227772 NQ7000297052 00001 0318 000000000   701M0 100000            Page 4 of 8




                                                                                                                                                               EXHIBIT 14 PAGE 164
                               Case 2:18-cv-05008-FMO-AFM Document 6-15 Filed 06/05/18 Page 6 of 11 Page ID #:674


                                                                                                        Account name:                 ESSEX CAPITAL CORPORATION                                        Your Financial Advisor:
~                           Business Services Account
                                                                                                        Account number:                      70 JM                                               JAY MALTBY/MATT LUDINGTON
                            March 2018                                                                                                                                                              312-525-7400/888-827-8469
~..~~~




    Your assets
    Some prices, income and current values shown may be approximate. As a result, gains and losses may not
    be accurately reflected. See Important inforriation about your statement at the end of this document for
    more information.


    CdSh
    Cash and money balances
                                                      `          Opening balance                Closing balance             Price per share      Average             Dividend/Interest         Days in
    Holding                                                          on Mar 1 (S)                 on Mar 29(S)               on Mar 29($)        rate                period                     period
    Cash                                                           -133,331.20                   -199,167.63


    Equities
    Common stock
                                                                                                     Purchase price/
                                                    Trade                            Number           Average price                                Price per share                 Value on                  Unrealized       Holding
    Holding                                         date                            of shares          per share (S)             Cost basis(S)      on Mar 29($)                  Mar 29(S)              gain or loss(S)       period
    NEOS THERAPEUTICS INC
    Symbol: NEOS Exchange: OTC                      Oct 27, 16                      299.000                    6.225                1,861.35               8.300                  2,481.70                     620.35             LT
                                                    Oct 28, 16                      880.000                    6.104                5,372.25               8.300                  7,304.00                   1,931.75             LT
                                                    Nov 1, 16                       600.000                    6.075                3,645.25               8.300                  4,980.00                   1,334.75             LT
                                                    Nov 4, 16                  3,221.000                       5.515               17,765.95               8.300                26,734.30                    8,968.35             LT
                                                    Jun 5, 17                  5,000.000                       7.974               39,872.62               8.300                41,500.00                    1,627.38             ST
                                                    J un S, 17                 5,000.000                       7.974               39,872.63               8300                 41,500.00                    1,627.37             ST
                                                    Sep 18, 17                 5,000.000                       8.580               42,902.62               8.300                41,500.00                   -1,402.62             ST
                                                    Sep 18, 17                 5,000.000                       8.580               42,902.63               8300                 41,500.00                   -1,402.63             ST
                                                    Oct 13, 17                 5,000.000                       8.428               42,144.50               8.300                41,500.00                     -644.50             ST
                                                    Oct 19, 17                 7,500.000                       7.430               55,728.25               8.300                62,250.00                    6,521.75             ST
    Security total                                                            37,500.000                       7.788              292,068.05                                   311,250.00                   19,181.95




                                                                                                                       ANQ70006002227773 NQ7000297052 00001 0318 000000000 Y             70JM0 100000                      Page 5 of 8



                                                                                                                                                                                                EXHIBIT 14 PAGE 165
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                                       2o~gervices Account                                                  Account name:               ESSEX CAPITAL CORPORATION                                                Your Financial Advisor:
                                                                                                            Account number:                    70 JM                                                       JAY MALTBY/MATT LUDINGTON
~~     ~~~~                   Basch
                                                                                                                                                                                                              312-525-7400/888-827-8469


     YOUt" dSS2tS (continued)

     Your total assets
                                                                                                                                    Percentage of                           Cost                  Estimated                   Unrealized
                                                                                                   Value on Mar 29($)                your account                        basis(S)         annual income (S)               gain or loss(S)
     Cash                                  'Cash and money balances
     Equities                                 Common stock                                                 311,250.00                   100.00%                     292,068.05                                              19,181.95
     Total                                                                                            $311,250.00                       100.00%                  X292,068.05                                              $19,181.95
     ~ Values in Cash and money balances exclude any outstanding margin loan or unsecured debit balance. These balances are reflected as liabilities in the balance sheet section of the statement.



     Accoulzt activity this xnollth
     For more information about the priceNalue shown for restricted securities, see Important information about
     your statement ai the end of this document.
                                                                                                               Your                            Quantity/                                                    Cash              Cash and
     Date          Activity               Description                                                      expense code                       Face value             PriceNalue (S)                    amount($)       money balance (S)
     Feb 28                              Cash and money balance                                                                                                                                                          -$133,331.20
     Mar 29        Withdrawal            FEDERAL FUNDS TO Essex Capital Corporation AT                                                                                                                -65,000.00
                                         MONTECITO BANK &TRUST
     Mar 29        Loan Charge           LOAN INTEREST CHARGED                                                                                                                                          -836.43           -199,167.63
     Mar 29                              Closing cash and money balance                                                                                                                                                  -$199,167.63

                                                                                       Number                           Average loan                                                            Loan interest
                                                         Date                          o. days                            balance (S)                             Rate                           charged (5)
     Loan interest daily detail                          Feb 28                                        -                133,331.20                           7.670%                                     28.41
                                                                              _—   _      --
                                                         Mar 01                             1                           133,331.20                           7.686%                                     28.47
                                                         Mar 02                             3                           133,331.20                           7.691 %                                    85.44
                                                         Mar 05                                1                        133,331.20                           7.702%                                     28.52
                                                         Mar 06                                1                        133,331.20                           7.711%                                     28.56
                                                         Mar 07                             1                           133,331.20                           7.718%                                     28.58
                                                         Mar OS                             1                           133,331.20                           7.740%                                     28.66
                                                         Mar 09                             3                           133,331.20                           7.750%                                     86.10
                                                         Mar 12                             1                           133,331.20                           7.765%                                     28.76
                                                         Mar 13                             1                           133,331.20                           7.777%                                     28.80
                                                         Mar 14                             1                           133,331.20                           7.786%                                     28.84
                                                         Mar 15                             1                           133,331.20                           7.808%                                     28.92
                                                         Mar 16                             3                           133,331.20                           7.822%                                     86.91
                                                         Mar 19                             1                           133,331.20                           7.841 %                                    29.04
                                                                                                                                                                                                                   continued next page


                                                                                                                      ANg70006002227774 NQ7000297052 00007 0318 000000000                     770JM0 100000                Page 6 of 8




                                                                                                                                                                                                        EXHIBIT 14 PAGE 166
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                                                                                           Account name:           ESSEX CAPITAL CORPORATION                               Your Financial Advisor:
                ~          Business Services Account                                                                      70 JM
                                                                                           Account number:                                                           JAY MALTBY/MATT LUDINGTON
~~~ ~~~                    March 2018                                                                                                                                   312-525-7400/888-827-8469




  Account activity this month <<o~t~~uea~
                                                                            Number                 Average loan                                           Loan interest
                                                        Date                of days                  balance (S)                     Rate                  charged ($)
  Loan interest daily detail (continued)                Mar 20                   1                 133,331.20                    7.854%                          29.09
                                                        Mar 21                   1                  133,331.20                   7.861                           29.12
                                                        Mar 22                   1                 133,331.20                    7.872%                          29.15
                                                        M ar 23                  3                  133,331.20                   7.875%                          87.51
                                                        Mar 26                   2                  133,331.20                   7.877%                          58.34
                                                        Mar 28                   1                  133,331.20                   7.887%                          29.21
                                                        Total                   29                                                                            $836.43


  U nsettled transaction activity
  The following transactions) are pending settlement.
  Trade             Settlement
  date              date          Activity                 Description                                                                         Quantity   Price /Value ($)           Amount(3)
  Mar 29, 18        Apr 03, 18    Sold                     NEOS THERAPEUTICS INC UNSOLICITED                                                -S,000.000              8.05             40,099.07
  Mar 29, 18        Apr 03, 18    Sold                     NEOS THERAPEUTICS INC UNSOLICITED                                                -5,000.000        8.055500               40,126.57
  Mar 29, 18        Apr 03, 18    Sold                     NEOS THERAPEUTICS INC UNSOLICITED                                                -5,000.000        8.052200               40,104.82
  Mar 29, 18        Apr 03, 18     Sold                    NEOS THERAPEUTICS INC UNSOLICITED                                                -5,000.000              8.10             40,349.06
  M ar 29, 18       Apr 03, 18     Sold                    NEOS THERAPEUTICS INC UNSOLICITED                                                -5,000.000              8.15             40,599.06
  Total pending investments sold                                                                                                                                                   $201,278.58




                                                                                                   ANQ70006002227775 NQ7000297052 OOOOt 0318 000000000    70JM0 100000               Page 7 of 8


                                                                                                                                                                   EXHIBIT 14 PAGE 167
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~W ~




       Your notes




                                                       ANQ70006002227776 NQ7000297052 00001 0318 000000000       70JM0 100000      Page 8 of 8
                                                                End of statement for account number      70 JM


                                                                                                                       EXHIBIT 14 PAGE 168
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                                                                       #:678

                                                                       Important information about your statement
U85 Financial Services Inc. (the Firm or UBS Financial          hear from you no later than 60 days after the Firm           claims for cash). Explanatory brochure available upon           • Achieve Capital Appreciation: Investments seeking
Servicesi, is a member of all principal security, commodity     sent you the first statement on which the error or           request or at w~wv.sipc.org. The SIPC asset protection            growth of principal rather than the generation of
and options exchanges. UBS Financial Services and UBS           problem appeared.                                            limits apply to all accounts that you hold in a particular        income.
Bank USA are indirect subsidiaries of UBS AG and                — Provide your name and account number (if any).             capacity.                                                       • Produce Combination ofIncome and Capital
affiliates of UBS Securities LLC The Firm's financial           — Describe the error or the transfer you are unsure          The Firm, together with certain affiliates, has also              Appreciation: Investments seeking both the generation
statement is available upon request. The Firm's executive          about, and explain as clearly as you can why you          purchased supplemental insurance. The maximum                     of income and growth of principal.
offices are at:                                                    believe it is an error or why you need more               amount payable to all eligible clients, collectively under
                                                                   information.                                              this protection is $500 million as of December 10, 2016.        Overall risk profiles
    UBS Financial Services Inc.                                 — Provide [he dollar amount of the suspected error.          SubjeR to the policy conditions and limitations, cash at        • Conservative: Seeks to maintain initial principal, with
    1 200 Harbor Boulevard                                                                                                   the Firm is further protected for up to 51.9 million in the       low risk and volatility to the account overall, even if
    Weehawken, N107086                                        The Firm or Card Issuer will investigate your complaint        aggregate for all your accounts held in a particular              that means the account does not generate significant
                                                              and will correR any error promptly. For alleged errors         capacity. A full copy of the policy wording is available          income or returns and may not keep pace with
This statement represents the only official record of your    involving UBS Visa° debit card transactions, if we take         upon request.                                                    inflation.
UBS Financial Services account. Other records, except         more than 10 business days to do this, we will credit                                                                          • Moderate: Willing to accept some risk to principal and
official tax documents, containing conflicting data should    your account for the amount you think is in error, so that     Neither the SIPC protection nor the supplemental                  tolerete wme volatility to seek higher returns.
not be relied upon. If you believe there is an error or       you will have the use of the money during the time it          protection apply to:
                                                                                                                                                                                             . Aggressi~: Willing to accept high risk to principal and
omission, please report it immediately in writing to the      takes us to complete our investigation.                        • Certain financial asseu controlled by(and included in           high volatility to seek high returns over time.
Branch Manager of the office serving your account.                                                                              your account value) but held away from UBS financial
                                                                                                                                                                                             . Investment Eligibility Consideration: If selected, a
                                                              Please make all checks payable io the Firm or the                 Services. For example certain (i) insurance products,
Although all figures shown are intended to be accurate,       financial institution indicated on the front of this              including variable annuities, and (ii) shares of mutual         portion of the portfolio for that account may include
                                                                                                                                                                                               complex strategies, limited liquidity and greater
statement data should not be used for tax purposes. Rely      statement. In addition to regular account fees, accounts          funds registered in the name of the account holder on
                                                              may be subject to maintenance fees, charges for late                                                                             volatility.
solely on year-end tax forms,(i.e., Form 1099, 5498,                                                                            the books of the issuer or transfer agent);
10425, etc.) when preparing your tax return. The Firm is      payment for securities purchases and charges for unpaid        .Investment contracts or investment interests (e.g.,
required by law to report to the IRS all taxable dividends,   amounu in cash accounu. Accounu that are transferred                                                                            Statement"householding"
                                                                                                                                limited partnerships and private placements) that are
reportable non-taxable dividends and taxable interest         to other institutions may be subject to a transfer fee.                                                                         We may consolidate all related account statementr with
                                                                                                                                not registered under the Securities Ad of 1933;
earned on securities held in your account, net proceeds                                                                                                                                       the same address in the same envelope, e.g. because
                                                                                                                             • Commodities contracts (e.g., foreign exchange and
on sale transactions, and cost basis on certain covered       UBS Sweep Options                                                                                                               they have owners who also maintain joint account
                                                                                                                                precious metal contracts), inducting futures contracts        relationships with other clients at the same address. If
securities.                                                   UBS offers options for sweeping cash balances to bank             and commodity option contracts; and                           you prefer to receive individual statements mailed in
                                                              deposit accounts at non-affiliated banks and affiliated        .Deposit accounts(except certificates of deposit) at UBS         separate envelopes, you may decline householding by
Communications with the Firm                                  banks, money market mutual funds(Money Funds) and                 Bank USA, UBS AG U.S. branches and banks in the               calling your Financial Advisor.
  Please re-confirm any oral communications in writing        the International Deposit Account(IDA) for customers              FDIC Insured Deposit Program.
  to further protect your rights, including your rights       with an International Resource Management Account.              The SIPC protection and the supplemental protection do          Friendly account name
  under the Securities Investor Protection Ad (SIPA).         Deposit accounts at UBS Bank USA and non-affiliated             not apply to these assets even if they otherwise appear
                                                              banks participating in the UBS FDIC-Insured Deposit                                                                             The Friendly account name is a customizable "nickname"
. If the financial institution on the top left of the front                                                                   on your statements. The SIPC protection and the
                                                              Program are FDIC-insured in accordance with FDIC rules.                                                                         chosen by you to assist you with your recordkeeping. It
  of this statement is not UBS financial Services, UBS                                                                        supplemental protection do not protect against changes          has no legal effect on your account. You can change
  Financial Services carries your account as clearing         For more information, please visit www.fdic.gov. Deposit        in the market value of your investments(whether as a
                                                              accounu a[ UBS AG Stamford Branch and shares of                                                                                 your Friendly account names, through Online Services or
  broker by arrangement with the indicated institution.                                                                       result of market movement, issuer bankruptcy or
                                                              Money Funds are not insured by the FDIC.                                                                                        by contacting your Finandal Advisor.
  We informed you of this relationship when you                                                                               otherwise).
  opened this account. In this case, your funds and
                                                              Through the IDA, cash balances are swept to deposit                                                                            Account overview
  securities are located at UBS Financial Services and not                                                                   Dividend Reinvestment Program (DRIP)
                                                              accounu at UBS AG New York Branch and UBS AG                                                                                   . Value ofyour aaouni/portfolio. Net of assets and
  the introducing broker, and you must make a report                                                                         The price reflected is an average price. You may obtain
                                                              Cayman Branch. These deposits are not insured by the                                                                           liabilities.
  of any error or omission to both firms.                                                                                    the actual price from your Financial Advisor. Only whole
                                                              FDIC. Balances held at the UBS AG Cayman Branch are                                                                            • Assets. Includes available cash balances, values for
  As described in the account agreements, you must                                                                           shares are purchased under DRIP; partial shares will be
  notify us of any errors or fraud involving checks           temporarily exposed to the sovereign risk of the Cayman        sold and the cash will be deposited in your account. The        restricted security (est.), and Global Time Deposits,
  reflected on your statement within 30 days after it was     Islands, and there is no guarantee or other obligation of      dividend reinvestment price supplied by the issuer may          unrealized marks to market, and certain assets not held
  mailed or made available.                                   UBS AG to repay the balances while on the UBS Cayman           differ from the market price at which the partial shares         by the Firm. Does not include unpriced securities/assets
                                                              Branch's books.                                                are sold.                                                       at the end of the prior and current statement periods, or
• Please direct customer complaints or inquiries to the
                                                                                                                                                                                              private investments, unvested stock options and
  Firm's Client Relations Department at 207-352-7699
                                                              Bank deposits are not protected by SIPC. Money Fund             Cash-in-lieu                                                   exercisable stock options.
  or toll-free at 800-354-9103, 8:00 A.M. l0 6'00 P.M.
  ET Monday through Friday, or in writing to UBS              shares are protected by SIPC. See "UBS Finanaal Services        Only whole units may be held in your account. If you are       • LiabilitiCS. Includes debit balances, outstanding margin
   Financial Services Inc., Client Relations Department,      Account Protection" below.                                      entitled to a partial unit as a result of a dividend payment    loans, credit line, short account balances.
  F.O. Box 766 Union Cily, Nl 07087.                                                                                          or otherwise, the Firm will either sell partial units at       • Cash/money balances. Total of uninvested available
   All statements shalt be deemed complete and accurate       Upon your request, balances in the bank deposits may be         market price or accept an amount determined by a               cash balances, plus deposit balances at affiliated and
   if not objected to in writing within 60 days.              withdrawn, and shares of a Money Fund may be                    registered clearing agency, and credit your account.            non-affiliated banks, and money market mutual fund
                                                              liquidated, and the proceeds returned to you or your                                                                           sweep balances, at the close of the statement period.
   For TTY services. Call 844-612-0986 or from outside
   the U S.' Call 201-352-1495
                                                              securities account.                                             Investment objectives                                           Non-commodity free credit balances in your account are
                                                                                                                              The investment objectives and risk profile are specific to      not segregated from other balances and the Firm may
. In case of errors or questions about an electronic
                                                              Further information about available sweep options,              each account and may vary between your accounts.                use any of these funds in the ordinary course of its
   funds transfer (EFf1, bill payment or UBS Visa° debit      including current interest rates and yields, is available at    Please advise the Firm promptly in writing of any               business. These funds are payable upon your demand.
   card transactions, call 800-762-1000, or write to UBS      www.ubs.com/sweepyields, from your Financial Advisor            significant change in your financial situation or               This total is included in the current period closing value.
   Financial Services Inc., 1000 Harbor Blvd., 6th floor,
                                                              or by calling 800-762-1000.                                     investment objectives. For each account held, you
   Weehawken, Nl 07086, Attn: RMABSA Services.
                                                                                                                              choose one of the following investment objectives:
                                                              UBS Financial Services account protection                       • Produce Current Income: Investments seeking the
    Call or write as soon as you can, if you think your
                                                              The Firm is a member of the Securities Investor Protection         generation of income only.
    statement or receipt is wrong or if you need more
                                                              Corporation (SIPC), which protects securities customers
    information about a transfer on the statement or
                                                              of its members up to $500,000 (including $250,000 for
    receipt. The Firm or Card Issuer (as applicable) must




                                                                                                                                                                                                                EXHIBIT 14 PAGE 169
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                                                                                       Important information about vour statement ~connnuea~

  Lending information                                             sxurities and options or only bid prices for OTC                rxeived may be less than the per share estimated              the annuity contracts, affiliates of the insurance
  For detailed information on the Firm's lending practices       securities.                                                      value provided in the account statement.                      companies or sponsors of the unit investment trusu
  and disclosures, refer to your Client Relationship           — Less actively traded securities may be priced using a
  Agreement or Account Agreement and the General                                                                                                                                                we distribute.
                                                                  valuation model or the most recent price we               • Restricted securities. Restricted securities generally            In addition to commissions received from the
  Terms and Conditions. UBS Statement of Credit Practices        obtained and may not reflect an actual market price          are not currently eligible for public sale. UBS Financial         purchase and sale of NeMShares funds, we and/or our
  available in Agreementt and Disclosures at                     or value.                                                    Services uses the market price of the unrestricted stock          affiliate receive an asset-based revenue sharing
  ~wwv.ubs.com/aaoun tdisdosures.                              — Certain positions may appear without a price and             of the same issuer as an imputed value for the                    payment from Ne~ctShares distributors, as well as
                                                                 will show as "price was not available" if we are             restricted stock for purposes of this statement only. To          funding for technology development, training and
 Your assets                                                      unable to obtain a price for a security.                    the event that restricted securities are eligible for sale,       education.
 Your statement itemizes securities and other assets held      — Deposits or securities denominated in currencies             the value received may be substantially less than the             Our affiliates also rxei~e trading commissions and
 in the account at the end of the statement period. You          other than U.S. dollars are reflected at the exchange        imputed value shown.                                              other compensation from mutual funds and insurance
 may ask for delivery of fully paid securities at any time.      rate as of the statement date.                                                                                                 companies whose producCs we distribute.
 Vou may receive securities used as loan collateral after      — For certain securities trading in non-conforming           • Est.(estimated)income, current yields and rates.                  We receive an annual ree from UBS Bank USA and
 paying any balance due on them. Any securities                  denominations, price and quantity (face value) may           An estimate of annual income is based on current                  UBS AG Stamford Branch of up [0 825 per account
 transferred to [he Firm during the statement period are         have been adjusted to facilitate proper valuation.           dividend and interest rates, assuming the securities will         sweeping to the banks under the UBS Bank Sweep
 listed at market value as of the end of the statement         To obtain current quotations, when available, contact          be held for one year from statement date or until                 Programs.
 period.                                                       your financial Advisor.                                        maturity. This estimate is only a guideline; accuracy
      Cost basis. In determining the cost basis of the
                                                                                                                              and continued income are not guaranteed.                       Activity
     securities included in this statement, where indicated     Private investments and structured products.                  — Estimated annual income and current yield for                Information regarding commissions and other charges
      with the number "7,' UBS Financial Services has relied    Private investment securities (including direct                 certain types of securities could include a return of        incurred in connection wits the execution of trades,
     on information obtained from sources other than UBS        participation program and real estate investment trust          principal or capital gains in which case the est.            inducting option tranudions has been inducted on
      Financial Services, including information from another   securities) and structured products are generally highly         income(and current yield) would be overstated.               confirmations previously furnished to you, and will be
     firm or that you may have provided to your Financial       illiquid. Certain structured products have not been           — Estimated annual income and current yield and the            provided to you promptly on request.
      Advisor. The Firm does not independently verify or        registered with the Securities and Exchange                     actual income and yield might be lower or higher
     guarantee the accuracy or validity of any information      Commission or under any state securities laws. We               than the estimated amounts.                                  Short selling
      provided by sources other than UBS Financial Services.    provide estimated values for private investment               — An estimate of annualized income (dividend and/or            If you are engaged in short selling a security, you may
     In addition, although UBS Financial Services generally    securities and structured products for informational             interest) divided by the current market                      incur a charge due to certain borrowing costs for that
     updates this information as it is rxeived, the Firm        purposes only. Accuracy is not guaranteed.                      value/average balance is based on the last dividend          particular security.
     does nol provide any assurances Thal the information       — These values may differ substantially from prices, if         or interest payment made by the issuer and
     under "Cost basis" and "Unrealized gain loss" is                any, at which a private investment security or             assumes the securities/deposits will be held for one         Open orders
     accurate as of the date of this statement. As such,            structured product may be bought or sold and do             year from the statement date or until maturity.              Regarding open or "good-till-cancelled" orders that
     please do not rely on this information to make                  not necessarily reprnsent the value you may receive        Accuracy and continued yield are not guaranteed.             were not executed by the statement date, open buy and
     purchase or sale decisions, for tax purposes or                 upon liquidation.
     otherwise. Accounts transferred to the Firm may                                                                                                                                         sell stop orders are reduced by the amount of dividends
                                                               — Third party estimates of value are as of a certain         • Assets not held by UBS Financial Services. Certain             or rightr on an ex-dividends or ex-rights date unless
     reflect gaiMioss information only for the period of            date and are supplied to UBS Financial Services on a      assets are not held by the Firm and not within the             instructed otherwise by you. You are responsible for
     time they are held at the Firm. More historical                regular basis by an independent valuation firm.
     information can be added by your Financial Advisor.                                                                      Firm's possession or control. These assets are                 orders that are executed due to your failure to cancel
                                                               — Issuer, general partner or sponsor estimated values,         displayed on your statement for informational                  existing open orders.
     Unrealised gains/losses. When data is available,              ( i any, are supplied to the Firm by the issuer,           purposes only. Positions and values presented are
    estimated unrealized gains/losses are calculated for            general partner or sponsor and may be calculated          provided by the issuing firm. UBS Financial Services is        Privacy
    individual security lots. The transaction data for              based on different information from that used by          not responsible for this information and does not              To obtain a copy of our c~~rent Client Privacy Notice,
    individual lots may or may not reflect commissions,             third parties to derive their estimated values.           guarantee iu accuracy. These assetr are not protected          please wntad your FinanC~al Advisor or visit our website
    charges and/or security reorganization events.             — You can obtain additional information regarding              by SIPC or the Firm's supplemental SIPC coverage.              dS WWW.UbS.COT/DlIVdCVDOIICY.
    Dividend and other reinvestment lots and systematic             the methodology used to determine the estimate of
    purchase lots are each combined to display one                                                                                                                                          — UBS Financial Services is got a bank. The RMA, Business
                                                                    value and the date of the information that is the       • Revenue sharing and additional compensation.                    Services Account BSA and IRMA are brokerage
    averaged lot. The "Trade date" column presents the              basis for the estimate by contacting your Financial
                                                                                                                             — In addition to commissions on sales and 12b-1 fees             accounts which provide access to banking services and
   original transaction trade date.                                 Advisor.
                                                                                                                                received in connection with the distribution of mutual        products through arrangements with affiliated banks
• Callable securities. Bonds and preferred stock that          — Third party estimated values may be reflected as              funds to our clients we and/or our affiliate receive           and other third-party banks, and provides access to
    the issuer calls for early redemption will be selected       '     Not priced" in several situations: when an              revenue sharing paymentr from distributors and/or              insurance and annuity products issued by unaffiliated
    impartially by lot from among all securities of that            independent valuation firm has not supplied or is
    issue held in our name or in nominee name for our                                                                          advisors of the mutual funds that we sell. These               third-party insurance companies through insurance
                                                                    unable to assign a value, when we become aware             amounts are based on two different components: (i)             agency subsidiaries of UBS Financial Services Inc.
   clients. Call feature information is obtained from third         that a material event has occurred that may call a         the amount of sales by UBS of a particular mutual            — Investment, insurance, and annuity products:
    parties and its accuraty is not guaranteed. Other call          previously reported value into question, or when a         fund family to our clients; and (ii) the asset value of a    — Not FDIC insured • No bank guarantee• May lose value
   features may exist which could affect yield; complete            value would be highly speculative due to the nature        particular mutual fund family's shares held at the           — RMA. Resource Management Account, Business
    information will be provided upon request.                     of the security.                                            firm.                                                          Services Account BSA, IR;AA and international Resource
   Certificates of deposit(CDs). CDs are FDIC insured          — When neither an issuer, general partner or sponsor
                                                                                                                            — We and our affiliate also receive networking and                Management Account are registered service marks of
    up to 8250,000 in principal and accrued interest per           estimated value nor athird-party estimated value is         omnibus processing fees in consideration for transfer          UBS Financial Services Inc
   depositor and per depository institution, in accordance          provided, the value of the security will be different      agent services that we provide to the mutual funds.          — VISA is a registered trademark owned by Visa
   with FDIC rules.                                                from iu purchase price.                                     These fees generally are paid from investor assets in          International Service Association and used under
. Price/value. Prices displayed for securities and other       — 'Distributions to date" may include return of                 the mutual fund and are a fixed dollar amount based            license. The UBS Visa credit cards and the UBS Visa
   products may be higher or lower than the price that            capital, income or both.                                     on the number of accounts at the broker-dealer                 debit cards are issued by JBS Bank USA with
   you would actually receive in the market. Prices are        — "Original unit size' represenu the initial offering           holding mutual funds of that fund family.                      permission from Visa U.S.A. Incorporated. All other
   obtained from various third party sources which we              price per unit and may not reflect your cost basis.      — In addition to commissions received in connection               trademarks, registered trcdemarks, service marks and
   believe to be reliable, but we do not guarantee their       — DPP and unlisted REIT securities are not listed on a          with the sale or distribution of annuity contracts and         registered service marks zre of their respective
   accuracy.                                                       national securities exchange, and are generally             unit investment trust units to our clients, we and/or          companies.
   — We generally use the closing price when available or          illiquid and even if they can be wld, the price             our affiliate receive revenue sharing compensation
        the mean of the bid and ask prices for listed                                                                          from many of the insurance companies underwriting            UBS Financial Services Inc.               Rev. 201771




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